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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                CASE NO: 17-20595
                    Plaintiff,                  HON. VICTORIA A. ROBERTS
 vs.                                            Mag. Judge: Elizabeth A. Stafford

 YOUSEF MOHAMMAD RAMADAN,

                Defendant.
 _________________________________________/

                            MOTION TO WITHDRAW

       NOW COMES defense counsel, RICHARD D. KORN, and in accordance with

 Eastern District of Michigan Local Court Rule 57.1(b), respectfully moves this

 Honorable Court for an Order allowing him to withdraw as counsel for Defendant,

 YOUSEF MOHAMMAD RAMADAN, and in support of this motion states as

 follows:

       1.     Defendant is charged in a superseding indictment with Possession of a

 Firearm with an Obliterated Serial Number, 18 U.S.C. § 922(k), Possession of a

 Stolen Firearm, 18 U.S.C. § 922(j), Possession of an Unregistered Silencer, 18 U.S.C.

 § 5861(d), and Forfeiture Allegations.
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       2.     There has been breakdown in the attorney-client relationship that

 precludes defense counsel from providing the effective assistance of counsel

 Defendant is entitled to under the Sixth Amendment to the United States Constitution.

 Defense counsel cannot set forth further detail in support of this motion without

 violating the attorney-client privilege.

       3.     This is a most serious case and it is imperative that Defendant have an

 attorney with whom he can have an effective working relationship. Defense counsel

 strongly recommends that this Honorable Court grant this motion and appoint another

 attorney to represent Defendant.

       4.     On June 7, 2020 defense counsel inquired as to the Government’s

 concurrence in this motion, and on June 7, 2020 was advised by Assistant United

 States Attorney Douglas C. Salzenstein that the Government does not concur in this

 motion.

       5.     In view of the fact that the trial date in this matter has been adjourned

 without date because of the Covid-19 pandemic and the closure of the court, the

 appointment of another attorney in this matter would not unduly delay the trial of this

 case or unfairly prejudice the government. In fact, if a change in attorneys is going

 to occur, this would be the ideal time to do it.
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       WHEREFORE, defense counsel, RICHARD D. KORN, respectfully moves this

 Honorable Court to allow him to withdraw as counsel for Defendant and to appoint

 another attorney to represent Defendant.




 Dated: 06-08-20                            Respectfully submitted,


                                            s/Richard D. Korn
                                            Attorney for Defendant Edwards
                                            645 Griswold, Suite 1717
                                            Detroit, MI 48226
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                                            P32958
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                            CASE NO: 17-20595
                   Plaintiff,               HON. VICTORIA A. ROBERTS
 vs.                                        Mag. Judge: Elizabeth A. Stafford

 YOUSEF MOHAMMAD RAMADAN,

                Defendant.
 _________________________________________/




                           BRIEF IN SUPPORT OF
                          MOTION TO WITHDRAW




                                                        Richard D. Korn
                                                        Attorney for Defendant
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         I.       THE DISTRICT COURT SHOULD ALLOW DEFENSE
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                  APPOINT ANOTHER ATTORNEY TO REPRESENT
                  DEFENDANT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

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 EASTERN DISTRICT OF MICHIGAN COURT RULES

 Rule 57.1(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1




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            CONCISE STATEMENT OF THE ISSUE PRESENTED

                                  ARGUMENT I

             SHOULD THE DISTRICT COURT ALLOW
             DEFENSE COUNSEL RICHARD D. KORN TO
             WITHDRAW AND APPOINT ANOTHER
             ATTORNEY TO REPRESENT DEFENDANT?

             Defendant answers:                YES.

             The Government answers:           NO.




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          CONTROLLING OR MOST APPROPRIATE AUTHORITY
                    FOR THE RELIEF SOUGHT



 The controlling or most appropriate authority for the relief sought in this motion is:


                Eastern District of Michigan Local Court Rule 57.1(b)

                 Sixth Amendment to the United States Constitution




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                                    ARGUMENT I

                     THE DISTRICT COURT SHOULD
                     ALLOW DEFENSE COUNSEL
                     RICHARD D. KORN TO WITHDRAW
                     AND APPOINT ANOTHER ATTORNEY
                     TO REPRESENT DEFENDANT.

       Eastern District of Michigan Local Rule 57.1(b) provides that:
                    (b) An attorney who has appeared in a
                    criminal case may thereafter withdraw only by
                    written motion served upon the defendant
                    personally or at the defendants last-known
                    address and upon all parties. The Court may
                    deny a motion to withdraw if the attorney's
                    withdrawal would unduly delay trial of the
                    case, or be unfairly prejudicial to any party, or
                    otherwise not be in the interest of justice.

       In the case at bar, the trial date has been adjourned without date because of the

 Covid-19 pandemic and the closure of the court. Therefore, the attorney’s withdrawal

 would not unduly delay the trial of this case or unfairly prejudice the government. In

 fact, in view of the absence of a trial date and the closure of the court, if a change of

 attorney is going to occur, this would be the ideal time to effectuate the change. Then

 when a trial date is set, substitute counsel can have input into what date would work

 for him or her.

       Defendant is guaranteed effective assistance of counsel under the Sixth

 Amendment to the United States Constitution. As stated in the motion, there has been

 a breakdown in the attorney-client relationship that would impair defense counsel’s
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  ability to render Defendant effective assistance of counsel. The failure to grant this

  motion and appoint another attorney to represent Defendant would deny him effective

  assistance of counsel in contravention of the Sixth Amendment to the United States

  Constitution.

                                   RELIEF SOUGHT

        WHEREFORE, defense counsel, RICHARD D. KORN, respectfully moves this

  Honorable Court to allow him to withdraw as counsel for Defendant and to appoint

  another attorney to represent Defendant.




  Dated: 06-08-20                                  Respectfully submitted,

                                                   s/Richard D. Korn
                                                   Attorney for Defendant Edwards
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  UNITED STATES OF AMERICA,
                                                  CASE NO: 17-20595
                      Plaintiff,                  HON. VICTORIA A. ROBERTS
  vs.                                             Mag. Judge: Elizabeth A. Stafford

  YOUSEF MOHAMMAD RAMADAN,

                 Defendant.
  _________________________________________/

                            CERTIFICATE OF SERVICE
        I hereby certify that on June 8, 2020, I electronically filed the foregoing paper

  with the Clerk of the Court using the ECF system which will send notification of such

  filing to the following:

  Douglas C. Salzenstein
  Hank Moon
  Assistant U.S. Attorneys
  211 West Fort Street, Suite 2001
  Detroit, MI 48226

  and I hereby certify that I have mailed by United States Postal Service the paper to the

  following non-ECF participants:

  Dated: 06-08-20                                Respectfully submitted,
                                                 s/Richard D. Korn
                                                 Attorney for Defendant
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